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IN THE UNITED sTATEs DISTRICT count
FoR THE NORTHERN nasTchT ca TEXAS _
FORT woRTH DIvIsION ZNHF§B-S FN 3-23

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cRIMINAL No. 4=17~cR-158~A (05)

 

UNITED STATES OF AMERICA

VS.

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ANGEL RENEE NORRIS (5)

MOTION FOR DOWNWARD DEPARTURE
TO THE HONCRABLE JUDGE JOHN McBRYDE:

Comes now the Defendant and moves this Honorable Court to
depart downward from the sentencing guidelines and grant a variance
in the sentence imposed. For cause the Defendant would
respectfully show unto the Court the following:

1. Under 18 U.S.C.A. §3553(a), provides that a Court shall
impose a sentence that is sufficient, but not greater than
necessary to comply with the purposes set out under paragraph (2)
of §3553(a). The Court shall consider the circumstances and the
history and characteristics of the Defendant.

Under the circumstances, character, and history of Ms Angel
Renee Norris in assessing a proper sentence. One item the Court
should consider is the fact that after Ms. Angle Renee Norris was
arrested and placed on probation for Possession with intent to
deliver a controlled substance of four grams or more but less than
200 grams and for Forgery by Possession with intent to pass a
Forged Check, which drug count Was included in the charges now

pending in this Honorable Court, she turned her life around. Angel

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Renee Norris was placed on four years deferred adjudication for
each offense. engle Renee Norris disassociated with the persons in
the conspiracy and she stopped using drugs as evidenced by her
having no positive urine samples while on prohation. She was
ordered to complete a substance abuse assessment. (PSI, T's 57& 58)
No one else in this conspiracy can claim that they stopped using
and possessing drugs before the federal charges were filed. engel
Renee Norris took her sobriety seriously and stopped associating
with persons who continued to sell and use controlled substances.
The Supreme Court has clearly held that withdrawal from a drug
conspiracy does not negate an element cf the conspiracy charged
during the defendant's participation. Smith v. United States, 568
U.S. 106 at 110, 133 S.Ct. 714, 184 L.Ed.2d 576 (2013) 'l'he COurt
can consider her efforts to reform herself before {and after) she
was arrested on these federal charges. SEE: Koon v. United States,
518 U.S. 81, 116 S.Ct. 2035, 135 L.Ed.Zd 392 (1996) After the
probation started, she devoted herself to her children. This shows
that she is still a person who can be rehabilitated.

Another mitigating factor revolves around her criminal

history. The assault convictions listed in her PSI are mostly
related tro her dysfunctional family. Her mother, Belinda Kay
Norris, was living with Angel Renee Norris’ step-father,

Christopher James Boyle, who was molesting both Angel Renee Norris
and her little sister. Whenever Boyle attempted to molest either

one of them, Angel Renee Norris would intervene to stop the

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molestation and her mother would come to the defense of Christopher
James Boyle and physically intervene against engel Renee Norris.
When the police were called, they believed the mother rather than
Angel Norris and would arrest Angel, but on one occasicn, the
police arrested both Angel and her mother but the mother's charges
were never filed with the District Attorney's Office and the mother
was released. Latery however, the police believed. the abuse
reports and arrested Christopher Boyle. Boyle admitted to the
abuse and received a four year penitentiary sentence. As a result
of his conviction, he is a registered sex offender for the rest of
his life. I have included with this Motion the Texas Public Sex
foender Registry in regards to the step-father Christopher James
Boyle. Another factor the Court should consider is the fact that
the mother, Belinda Kay Norris, blames the two girls, Angel Renee
Norris and her sister for causing Christopher James Boyle to be
sent to prison. l called the sister first, who started crying
because she had broken up the family l told the sister that it was
Christopher James Boyle who was in the wrong and not her. Angle
Renee Norris informed me that her sister is mentally ill and that
was another reason that Angel Renee Norris felt a need to protect
her. It became apparent that Belinda Kay Norris, actually bates
her daughter for cooperating with the police in sending Christopher
James Boyle to prison. When l asked the mother about the fights
between engel Renee Norris and Christopher James Boyle and also

against the mother, Belinda Kay'Norris, the mother denied there

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were ever any fights. When l asked Belinda Kay Norris about the
assault charges filed against Angel Renee Norris, she terminated
the call.

Angel Renee Norris was placed on the mental health caseload
but never received the treatment. (last Paragraph of §57 of the
PSI) Angel Renee Norris took the Thinking for a Change program
offered to her in April, 2006, which is another indication of her
intent to change for the better.

Angel Renee Norris has not had any contact with her natural
father since the second grade. The mother's husbands added to the
problems. Christopher James Boyie was and is a sex offender and
the father was a “full fledged alcoholic” according to Angel Renee
Norris. (PSI, LSO)

engel Renee Norris is concerned about her mother not properly
caring for Angel’s children. engel Norris has been contacted by
CPS regarding actions against the mother as guardian of the
children.

Angel Renee Norris told me about a random kidnaping of her
when a man in a car, in the street just outside her home, with the
doorn to his car open, asked her for a light of his cigarette and
when she reached in with her lighter, he grabbed her and pulled her
into the car and drove off with her. She fought him and was
eventually able to jump out of the car and had someone call the
police but the person. was never captured" She indicates that

William “Randy” Crisp saw the incident and can corroborate it, if

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l can find him. She was living at the vickery Inn at the time this
kidnaping occurred.

engel Renee Norris has had mental problems since she was four
years old. (PSI, I89) She was in and out of Cook’s Children’s
Hospital between the ages of 8 and 13. She has attempted suicide
ten to twenty times by overdosing and by cutting her wrists. (PSI,
ISB) Angel Renee dorris attended a mental health program, My
Health and Mental Retardation in Fort Worth. She was not on her
medications due to her being pregnant. This is mitigating because
it shows she cares more about her unborn baby’s health than her
own. The child was born just three weeks before her arrest on
these federal charges. Angel Renee Norris has been confirmed to
suffer from ADHD and bipolar disorder. engel Renee Norris' mental
problems are numerous and are covered in the PSI from I89 to IlOO.

This Honorable Court may, on proper motion of the Defendant,
depart downward from the Sentencing Guidelines in order to take
into consideration items of a persons past, the character, or
traits which are not adequately taken into account by the
guidelines themselves. Even before Booker, the Court was entitled
to depart downward due to a defendants family ties or lack thereof,
responsibility shown in her life (in engel Renee Norris’ life, her
decision to leave her criminal activities behind), and/or the
Defendant’s employment. Koon v. United States, 518 U.S. Bl, 116
S.Ct. 2035, 135 L.Ed.Zd 392 (1996). Personal circumstances which

are sufficiently mitigating, such as substantial medical problems

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and minor participation can justify a downward departure. United
States v. Palmer, 122 F.Bd 215 (Sth Cir., 1997) The decision to
depart is within the sound discretion of the sentencing court.

United States v. Palmer, supra.

 

2. Section SKZ.O provides “... the sentencing court may
impose a sentence outside the range established by the applicable
\guideline, if the court finds ‘that there exists an aggravating or
mitigating circumstance of a kind, or to a degree, not adequately
taken into consideration by the Sentencing Commission in
formulating the guidelines that should result in a sentence
different from that described.”

3. A sentence should reflect the seriousness of the offense
and to promote respect for the law and to provide just punishment
for the offense. The factors not adequately taken into account by
the sentencing commission in this case is the actual family history
of the Defendant and the environment in which she lived.

The mitigation of her criminal history category occurring from the
molestation and attempts at molestation by the step»father
Christopher James Boyle and the mother defending the mclester
warrants a downward departure. The resisting arrest incident with
the police which the district attorney refused to file is mitgating
as well. The resisting arrest charge listed in paragraph 60 was an
incident where the police were attempting to take her car and leave
her and her three month old child in the rain and she kept locking

the door with the child inside to keep them from taking the car.

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The prosecutor who looked at the facts rejected the request to file
a resisting arrest charge. The monthly rainfall records for April
from 1898 to 2004 has only 39 April's with more rainfall than the
2.96 inches in April 2004. This statistic adds to the reliability
of her story and should again mitigate her criminal history. The
Supreme Court in Giles v. California, 554 U.S. ___, 128 S.Ct. 2678,
171 L.Ed.2d 488 (1008) held a trial court is authorized to fashion
a sentence to meet and justify the proper punishment in a
particular case. While the Court must consider the Guidelines
Range, it is merely advisory.

4. Adeguate deterrence of the defendant to engage in criminal
conduct must also be considered. Ms. engel Renee Norris has
already shown that she intends to live a righteous life with her
children and that deterrence in her case is not a factor.

5. The Court should consider needed.educational or vocational
training, medical care, or other correctional treatment in the most
effective manner. The Court should consider recommending
psychological counseling for Ms. engel Renee Norris due to the
abusive neglect and treatment from her parents.

6. Even prior to Blakely and Giles, the Fifth Circuit noted
in.United States of America v. Ramon Rodriguez~Montelongo, 263 F.3d
429 {Sth Cir., 2001):

“The Supreme Court has explained that the Sentencing

Commission “did not adequately take into account cases

that are, for one reason or another, ‘unusual.’” Koon v.

_7_.

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United States, 518 U.S. 81, 93 (1996).

The Guidelines enumerate certain factors that can
never he bases for departure. gee idg at 93; see also

U.S. Sentencing Guidelines Manual § 5H1.10 {prohibiting

consideration. of race, sex, national origin, creed,

religion, and socio-economic status); ida § 5H1.12

(prohibiting consideration. of lack of guidance as a

youth); ida § 5H1.4 {prohibiting downward departure for

drug or alcohol dependence). Aside from the limited
number of categorical prohibitions, however, the

Sentencing Commission did ‘not intend to limit the kinds

of factors, whether or not mentioned.anywhere else in the

guidelines, that could constitute grounds for departure

in an unusual case.' U.S. Sentencing Guidelines Manual

ch. 1, pt. A, intro. cmt. e(h); see also Kan, 518 U.S,

at 93;§__3.__3;&_1¥, 235 F.3d at 232 n.S.”

This case is just such an unusual case that justifies a
downward departure for Ms. Angel Renee Norris. Proper counseling
and treatment, vocational training' and additional educational
opportunities for Ms. Angel Renee Norris would allow her the
opportunities to become a useful and productive citizen.

WHEREFORE, PREMISES CONSIDERED, Defendant prays that this
Honorable Court grant this Motion for Downward Departure and to

sentence Ms. Angel Renee Norris to a sentence of sixty months or

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less to allow her to re»enter society and.make a productive citizen
and mother for her children. The Defense so prays this Honorable
Court for a downward departure on her sentence and for such other

and further relief to which the Defendant may be entitled.

Respectfully submitted;

 

State B No. 03443800

115 No h Henderson Street
Fort Worth, Texas 76102~1940
(817)870~1544 FAX 370~1589

1 exas i’ublic Sex Offender Registry Of 5
Case 4:17-cr-00158-A Document 161 Filed 02/05/18 Page 10 of 21 Page|[ga£%l

Texas Pub|i_c Se)< Offender
Registry

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BOYLE'CHRISTOPHER JAMES

SID 06577852
Risk Level MODERATE

finding Registration LIFETIME

Date

(Projected)
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Requirement

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Race d n White
`La.»,§c§t;` " " " alleges "
Height 5'11"

`Weighlt w l 170 lbs

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Name(s)
BOYLE,CHRISTOPHER JAMES (PRIMARY)

BoYLs,cHRIs

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Case 4:17-cr-00158-A gD:)lcyument 161 Filed 02/05/18 Page 11 of 21 Page|[?W

§ sovcE,cHRIS'roPHERJAMss
Birth Date($)
g 05/19/1970(PR1MARY)

Notices

DPS Cannot guarantee the records you obtain through this site relate to the person about whom you are
seeking information Seal'ches based on names dates of birth and other alphanumerio identified are not

afways accurate The only way to positiveiy iini< someone to a criminal record is through fingerprint
verification

on the web site until the duty to register has expired or other relief allowed by statute is granted (Art.
62.101 and 62.251 Tx CCP)

Date Event Type Agency
1 1/30/2017 Verification HURST PD
07/03/2008 Registration DEPT OF CRIMINAL JUSTICE HUNTSVILLE

Reported Information

Addl‘ess 429 MICHAEL,. BLVD
HURST TX 76053

Offense: INDECENCY WITH A CHILD SEXUAL CONTACT

Stotute TEXAS PENAL COi)E 21.11 (a){l)

Victim den Ferna|e -

Victirn Age 14

his-position Date l n `10/-1.1-/2005

JUDGMENT l 4\`/"Dl`SCIdARGED FROM l\lGT REPORlED / UNKNOWN

Offense: INDECENCY WITH A CHILD SEXUAL CONTACT

Statute TEXAS PENAL CODE 21.1,1 (a)(l)

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Case 4:17-cr-00158-A Document 161 Filed 02/05/18 Page 12 of 21 F’age||I§)EFBI'EB3

Vicl:im Sex Fema|e

 

Victim Age 14
Disposition Date 10/11/2005
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Case Status:
Case: 093936! CID: 0557786 Docket: 0939363 D Active Warrant:

Court: D396 Su§)-Court: Direet Court: D396 CODP: N

Name: BOYLE,CHRISTOPHER JAMES DOB: 05/19/1970 Sex: M
AKA: BOYCB,CHRISTOPI~IER JAMES l Age: 47 Race: W
Ethnicity:

Street Address: 6405 WESTRIDGE DR Apt #:

Eity: WATAUGA State: TX Zip: 76148

 

i!ing Agency: 29 WHITE SETTLEMENT PD Report: 04».10645 Booking: 2355375
le Date: 07/09/2004 TRN: 0056520530 TRS: AODZ
Companiolz Cases: 0939362
Charged Offense: 110128 SEXUAL ASSAULT CHII.,D U/i 7 Offense Date: 05/17/20()4
Disposition Offense: 360110 INDECENCY»FONDLING Ind§ctment Date: 09/23/2004
Remarks: Appeai Date:
f)efense Attemey: YOUNG,TRAVIS W Appointed: Y
Additionai Attorney:
Reviewing Attorney: BEDNARZ,TIMOTHY
Prosecutor: HUSEMAN,ROBERT
Next Prelim. Court Date: Next Preliminary Court:
Next Court Date: fO/l 1/2005 08: 30 AM TR- -(TRIAL DOCKET)
Bond Status: Event: Recommended Amuunt: $0.00
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Sentence: PEN'N Term: 4 YEARS Date: 10/ l 1/2905 Probation Term: 0 mos.
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ase Status:

Case: 0939362 CID: 0557'786 Docket: 0939362D `Active Warrant:

Court: D396 Sub~Court: Direct Ceurt: D3 96 CODP: N
Name: BOYLE,CHRISTOPHER JAMES DOB: 05/19/1970
AKA: BOYCE,CHRISTOPHER JAMES Age: 47
Ethnicity:

Street Addz'ess: 6405 WESTRIDGE DR Apt #:

City: WATAUGA State: TX Zip: 76]48
Filing Agency: 29 Wl-HTE SETI`LEMENT PD Report: 04-10645 Buoki:lg: 235537 8

ile Date: 07/09/2004 TRN: 0056520530 'I`RS: A001
ompaoion Cases: 0939361

harged Offense: 110130 AGG SEX ASL'£` CHILD~THREAT Offense.l)ate: 05/17/2004
ispesition Off'ense: 3601 10 [NDECBNCY~FONDLING Indictment Date: 09/23/2004
emarks: Appeal Date:

efense Attorney: YOUNG,TRAVIS W Appointed: Y
dditional Attomey:

reviewing Attorney: BEDNARZ,TIMOTHY

rosecutor: HUSEMAN,RONALD

Next Prelim. Court Date: Next Preliminary Court:

Next Court Date: 10/11/2005 08:30 AM TR ~ (TRIAL DOCKET)

Boud Status: Event: Recommended Amount: $0.00

Bondsman: Actual Amount: $0.00

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Sentence: PIENN Term: 4 YEARS Date: 10/1 1/2005 Probation Term: 0 mos.
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Sex: M
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f)istrict Clerk‘s Office
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Monthly rainfall records for DFW from 1898 to present - iWeatherNet 1 Oi_~ 4
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Home » DFW Weather Records » Month|y rainfall records for DFW from 1898 to
§ present

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Monthly rainfall records for DFW from 1898 to present

This table shows the total precipitation for every month since September 1898 at
DFW. Weather records at DFW began 119 years, 4 months and 29 days ago on
Septernber 1, 1898. `?hese data include all forms of precipitation; snow and sleet
are included as melted liquid equivalent

Other Weather Reoorcis:

 

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§ Monthlv Precioitation this Past Year

Use the search box to search for a particular year. Of course you can sort and filter
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CERTIFJZCATE OF SERVI E
I hereby certify that on Fe§oruary 5, 2018,_ I filed the
foregoing document with the clerk for the United States Dist;:cict
Court for the Northerrr Dist;rict of ’I‘exa.s and hand delivered a copy
to the Honorable Mr. Shawn Smith, Assistant United States

At;torney, 801 Cherry Street, Suit;e 1700, Fort Worth, Texas 76102.

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DANNYD.B?$/

